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           5.           During his deposition, Yukun ?Roger? Wu testified about the existence of different

    records related to Benlida?s recording o f invoices and payments related to CTX.                             See, e.g.,


    Statement o f Material Facts Exhibit            5   - Excerpts from Transcript o f Wu Yukun Deposition 61:6-

    63:6 (confirming existence o f historical data in files related to CTX); 65:17-66:6 (confirming

    existence o f Excel spreadsheet for Circuitronix showing paid and unpaid invoices; CTX counsel

    requesting the document); 73:16-74:20 (CTX?s counsel asking about spreadsheet o f aging

    accounts receivable).             Although these documents were responsive to CTX?s requests for

    production, they had not been produced.

           6.           A f t e r M r . Wu?s deposition, I emailed counsel f o r Benlida requesting the records


    that had been referenced at the deposition, including the database o f aging debts o f accounts

    receivables as w e l l as the database for accounts receivable for C T X and C T X - H K , and the


    c o m b i n e d database M r . W u testified Benlida kept for the t w o companies.


             7.         Just before the f o l l o w i n g day?s deposition the next m o r n i n g ? t h e third o f four that

    w e e k ? c o u n s e l f o r Benlida emailed, in his words, ? C T X - U S and C T X - H K combined invoices in


    Excel t h r o u g h December 2020, showing FIFO attribution o f payments and also pro formas w h e n

    payments were made contemporancously? together w i t h an ?email w i t h spreadsheets o f A u g u s t

    2021.?


           8.           In connection w i t h C T . > M e t i o n for Summary Judgment (?Motion?), I attach as


    exhibits to this declaration the f o l l o w i n g materials f r o m the record o f this case:


                       a.           A true and correct copy o f the Standard M a n u f a c t u r i n g and Representation


             Agreement between the parties [ D E 15-1], dated M a r c h 1, 2012, referenced i n the M o t i o n

             as E x h i b i t A ;
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                    b.           A true and correct copy o f the Business Authorization, dated January                                       1,


          2014, referenced in the M o t i o n as E x h i b i t B;


                    c.           A true and correct copy o f a draft o f the Letter Agreement [ D E 15-2], dated


          July 21, 2016, referenced i n the M o t i o n as an attachment to the email attached hereto as

          Exhibit C;


                     d.          A true and correct copy o f an October 5, 2018 email f r o m Huang ?Tracy?

          Sulan to Rishi K u k r e j a and the attached ?The Letter o f Authorization for Payment


          Entrust? [ D E 30-1] referenced i n the M o t i o n as E x h i b i t D;


                    e.           A true and correct copy o f the document produced by P l a i n t i f f on June 8,


          2023 titled ?Confirmation for A u d i t Purposes,? referenced i n the M o t i o n as E x h i b i t E;

                    f.            A true and correct copy o f Plaintiff's Initial Disclosures, dated February

          11, 2022, referenced in the M o t i o n as E x h i b i t F;


                    g.            A true and correct copy o f Defendant?s Requests for Admissions, dated


          M a y 3, 2023, referenced in the M o t i o n as E x h i b i t F;


                    h.            A true and correct copy o f the Meclaration o f Huang Hanchao [ D E 29-3],

          referenced i n the M o t i o n as E x h i b i t H ;


                    i.            A true and correct copy o f P l a i n t i f f ' s Revised Responses to Interrogatory

          14, dated June 8, 2023, referenced in the M o t i o n as E x h i b i t I;


                     j-          A true and correct copy o f Defendant?s First Set o f Interrogatories, dated


          A p r i l 23, 2022, referenced i n the M o t i o n as E x h i b i t J;


                    k.            A true and correct copy o f P l a i n t i f f ' s U n s w o r n Responses to

          I n t e r r o g a t o r i e s , d a t e d M a y 17, 2 0 2 3 , r e f e r e n c e d i n the M o t i o n as E x h i b i t K ; a n d
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                     I.       A true and correct copy o f Plaintiff's Sworn Corrected Responses to

             Interrogatories, dated M a y 24, 2023, referenced i n the M o t i o n as E x h i b i t L .



                                                  VERIFICATION

             Pursuant to 28 U.S.C.    §   1746, I declare under penalty o f perjury that the foregoing is true

    a n d correct.




                                                                   Stina H . M a r t i n e z
                                                             E x e c u t e d o n June     q    , 2023
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From: tracy@benlida.com <tracy@benlida.com>
Sent: Friday, October 5, 2018 11:52 PM
To: Rishi Kukreja <RishiK@circuitronix.com>
Cc: kun吴宇焜 <kunnywoo@126.com>; douglas <douglas@benlida.com>; aguan <aguan@gecpas.com>
Subject: Authoriza.on for Payment Entrust -- important!
AEachments: Authoriza.on for Payment Entrust.docx


Rishi,

Since CTX HKG was paying much less than CTX US, our record in custom and tax department will have problem
by end of 2018. As we explain before, when we ship 1 million to CTX HKG, we should get 1 million from CTX HKG.
To resolve this issue, we need CTX sign the letter of Authorization for Payment Entrust as attachment. For every
sigle wire CTX US send out in the coming days, we need this letter till the date we can make our custom record
balance.
Please review and let us know if you have any concern. Thank you.

RGDS

Jiangmen Benlida Printed Circuit Group
Tracy Huang
86-750-3962099




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        委托付款书 The Letter of Authorization for Payment Entrust




       江门市奔力达电路有限公司 JIANGMEN BENLIDA PRINTED

       CIRCUIT CO., LTD：


            我公司因业务需要，现委托 CIRCUITRONIX, LLC 作为我公司合

       法委托付款人，授权其代表我单位进行代付款工作，在代理人收到委

       托人指示时对外付款。For the purposes of our company’s business,

       hereby entrusted CIRCUITRONIX, LLC to act as our legitimate payer,

       authorizing it to act on behalf of our company for payment, and to pay

       when it receives instructions from the principal.


            代理人的一切行为均代表本公司，与本公司的行为具有同等法律

       效力。本公司将承担该代理人行为的全部法律后果和法律责任。特此

       委托。Agent's acts are representative of our company, with the same

       legal effect as our company's behavior. Our company will bear all the

       legal consequences and liabilities of the agent's actions.


            代理人名称 the name of representative：CIRCUITRONIX, LLC


            开户行 bank：__________


            账号 account number：__________
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            代理人代付款金额 Agent's payment amount：


            付款日期 Date of payment：


                          委托人（签名盖章）Principal (signature and seal)：

                                 CIRCUITRONIX（HONG KONG）, LIMITED


                                                        日期：x 年 x 月 x 日


                                                           Date:   Y M     D


                            代理人（签名盖章）Agent (signature and seal)：

                                                       CIRCUITRONIX, LLC


                                                        日期：x 年 x 月 x 日


                                                        Date:   Y M    D
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   MAZZOLA LINDSTROM, LLP
   1350 Avenue of the Americas, 2nd Floor
   New York, New York 10019
   646.250.6666
   jeanclaude@mazzolalindstrom.com

   IN THE UNITED STATES DISTRICT COURT
   FOR THE SOUTHERN DISTRICT OF FLORIDA
   -----------------------------------------------------------------x
   JIANGMEN BENLIDA PRINTED                                             CM/ECF
   CIRCUIT CO., LTD.,
                                                                        Civil Action No.: 21-60125-CIV-
                                Plaintiff,                              SCOLA/SNOW

              -against-

   CIRCUITRONIX LLC,

                                 Defendant.
   -----------------------------------------------------------------x


                 PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO RULE 26
           Plaintiff, Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida”) by and through counsel,

   Mazzola Lindstrom LLP, make the following initial disclosures. To the best of Plaintiff’s

   knowledge, information, and belief, formed after an inquiry that is reasonable under the

   circumstances, the disclosures herein are complete as of the time made. Nevertheless, Plaintiff has

   not completed its investigation of the facts relating to this case, has not completed discovery in

   this action, and has not completed preparation for trial in this action. These initial disclosures are

   based upon information known at this time and given without prejudice to Plaintiff identifying

   subsequently discovered witnesses, facts, or evidence. Plaintiff reserves the right to supplement

   and/or amend these disclosures as necessary pursuant to Rule 26(e) of the Federal Rules of Civil

   Procedure.

           These disclosures are subject to all objections as to competency, relevance, materiality,

   admissibility, privilege, and any and all other objections that would require the exclusion of the
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   testimony of any witness identified herein. All such objections and grounds are expressly reserved

   and may be interposed at the time of trial. These disclosures shall not be construed as a waiver of

   the attorney-client privilege and/or the attorney work product doctrine as to any witnesses’

   potential testimony.

                                 RULE 26(a)(1)(A) DISCLOSURES:
            (i) The name and, if know, the address and telephone number of each individual
   likely to have discoverable information – along with the subjects of that information – that
   the disclosing party may use to support its claim or defenses, unless the use would be solely
   for impeachment;
          Plaintiff is aware of the following individuals who may have discoverable information

   Plaintiff may use to support their claims or defenses:

   WITNESS            CONTACT                 KNOWLEDGE
                      DETAILS

   Tracy Huang        c/o Plaintiff’s         General operational knowledge of the
   (“Tracy”)          counsel                 business between the parties, payments,
                                              invoices, credit memos, reconciliations, and
                                              communication between the parties
                                              concerning accounts receivable and the
                                              disputed invoices identified in the TAC;
                                              knowledge of relationship between the
                                              parties.
   Huang Hanchao c/o Plaintiff’s              General operational knowledge of the
   (Douglas)     counsel                      business between the parties, payments,
                                              invoices, credit memos, reconciliations, and
                                              communication between the parties
                                              concerning accounts receivable and the
                                              disputed invoices identified in the TAC;
                                              knowledge of relationship between the
                                              parties.
   Huang              c/o Plaintiff’s         General operational knowledge of the
   Xiangjiang         counsel                 business between the parties, payments,
                                              invoices, credit memos, reconciliations, and
                                              communication between the parties
                                              concerning accounts receivable and the
                                              disputed invoices identified in the TAC;
                                              knowledge of relationship between the
                                              parties.
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   Zhang Qing      c/o Plaintiff’s   General operational knowledge of the
                   counsel           business between the parties, payments,
                                     invoices, credit memos, reconciliations, and
                                     communication between the parties
                                     concerning accounts receivable and the
                                     disputed invoices identified in the TAC;
                                     knowledge of relationship between the
                                     parties.
   Liu Yusheng     c/o Plaintiff’s   General operational knowledge of the
                   counsel           business between the parties, payments,
                                     invoices, credit memos, reconciliations, and
                                     communication between the parties
                                     concerning accounts receivable and the
                                     disputed invoices identified in the TAC;
                                     knowledge of relationship between the
                                     parties.
   Guangdong       c/o Plaintiff’s   General operational knowledge of the
   Yuda            counsel           business between the parties, payments,
   Investment                        invoices, credit memos, reconciliations, and
   Partnership                       communication between the parties
   (Limited                          concerning accounts receivable and the
   Partnership)                      disputed invoices identified in the TAC;
                                     knowledge of relationship between the
                                     parties.

   Liao Shusheng   c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
   Liao Shudong    c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
   Li Yingjie      c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
   Lei Xiaobing    c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
   Xie Yuguang     c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
   Huang Youjin    c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
   Chen Yonglian   c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
   Chen Jian       c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
   Xu Min          c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
   Yan Maohua      c/o Plaintiff’s   The allegations contained in the Complaint
                   counsel           and the Defendant’s Defenses.
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   Zhou Weixue       c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Li Zhizhou        c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Fang              c/o Plaintiff’s   The allegations contained in the Complaint
   Zhongwen          counsel           and the Defendant’s Defenses.
   Yang Shide        c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Chen Jian         c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Li Yuecheng       c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Tan Yongjun       c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Hao Ming          c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Zhang Yong        c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Xu Jun            c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Huang Sulan       c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Duan Jijun        c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Hu Xiangbo        c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Li Xianchao       c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Kong              c/o Plaintiff’s   The allegations contained in the Complaint
   Xiangchun         counsel           and the Defendant’s Defenses.
   Wei Jun           c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   He Chuan          c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Huang             c/o Plaintiff’s   The allegations contained in the Complaint
   Genqiang          counsel           and the Defendant’s Defenses.
   Lin Qixiang       c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.
   Li Shulin         c/o Plaintiff’s   The allegations contained in the Complaint
                     counsel           and the Defendant’s Defenses.

   Jiangmen          c/o Plaintiff’s   General operational knowledge of the
   Benlida Printed   counsel           business between the parties, payments,
   Circuit Co.,                        invoices, credit memos, reconciliations, and
   LTD.                                communication between the parties
                                       concerning accounts receivable and the
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   (Corporate                          disputed invoices identified in the TAC;
   Representative)                     knowledge of relationship between the
                                       parties.
   ROK Printed       c/o Plaintiff’s   General operational knowledge of the
   Circuit Co.,      counsel           business between the parties, payments,
   LTD.                                invoices, credit memos, reconciliations, and
   (Corporate                          communication between the parties
   Representative)                     concerning accounts receivable and the
                                       disputed invoices identified in the TAC;
                                       knowledge of relationship between the
                                       parties.
   China Export &    c/o Plaintiff’s   Knowledge of admissions by Benlida
   Credit            counsel           concerning their claims against CTX, and
   Insurance                           the amount of such claims.
   Corporation,
   commonly
   known as
   “Sinosure”
   (Corporate
   Representative)
   “Ms. Chen”        c/o Plaintiff’s   Knowledge of accounting, invoicing,
   (Accounting at    counsel           reconciliations, and payments.
   Benlida)
   Kunny Woo         c/o Plaintiff’s   Knowledge of accounting, invoicing,
                     counsel           reconciliations, and payments.

   Rishi Kukreja     c/o Defendant’s   General operational knowledge of the
                     counsel           business between the parties, payments,
                                       invoices, credit memos, reconciliations, and
                                       communications between the parties
                                       concerning accounts receivable and the
                                       disputed invoices identified in the TAC.
   Sourabh           c/o Defendant’s   Knowledge of lead-time penalty amounts.
   Sharma            counsel
   Akshay Koul       c/o Defendant’s   General operational knowledge of the
                     counsel           business between the parties, payments,
                                       invoices, credit memos, reconciliations, and
                                       communications between the parties
                                       concerning accounts receivable and the
                                       disputed invoices identified in the TAC.
   Lina Ochoa        c/o Defendant’s   General operational knowledge of the
                     counsel           business between the parties, payments,
                                       invoices, credit memos, reconciliations, and
                                       communications between the parties
                                       concerning accounts receivable and the
                                       disputed invoices identified in the TAC.
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   Nicole             c/o Defendant’s          Knowledge of accounting, invoicing
   Donaldson          counsel                  reconciliations, and payments, and related
                                               communications with Benlida regarding the
                                               same.
   Melonnie           c/o Defendant’s          Knowledge of accounting, invoicing,
   Rhoden             counsel                  reconciliations, and payments and related
                                               communications with Benlida regarding the
                                               same.
   Marcia Delgado c/o Defendant’s              Knowledge of accounting, invoicing,
                  counsel                      reconciliations, and payments and related
                                               communications with Benlida regarding the
                                               same.
   Barry Mukamal      c/o Defendant’s          Expert forensic accountant retained as a
                      counsel                  testifying expert by Defendant. Opinion will
                                               be disclosed in an expert report pursuant to
                                               the Court’s Scheduling Order. We anticipate
                                               that Mr. Mukama’s report and opinion will
                                               explain the current credit balance.

          All contact with the Plaintiff should be made through counsel Mazzola Lindstrom, LLP,

   1350 Avenue of the Americas, 2nd Floor, New York, NY 10019. Plaintiff emphasizes that the

   above list is based upon preliminary review of the allegations in the Complaint and may not be

   exhaustive. Accordingly, Plaintiff reserves the right to supplement or amend this list.

          (ii) A copy – or a description by category and location – of all documents,
   electronically stored information, and tangible things that the disclosing party has in its
   possession, custody, or control and may use to support its claims or defenses, unless the use
   would be solely for impeachment;
          Plaintiff identifies the following documents in its possession, custody and/or control that

   they may use to support its claims in this litigation:

               1. Plaintiff identifies various commercial documents including contracts, invoices,

   and Bills of Lading which may be responsive.

               2. Documents, sales records, purchase orders, invoices, payments monthly statements

   and communications relating to the products under the Manufacturer’s Agreement and Letter

   Agreement and exhibits thereto.
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                3. Plaintiff identifies various email communications between the parties regarding the

   aforementioned contracts, invoices, and Bills of Lading which may be responsive.

                4. Minutes of meetings between and among the parties and their representatives,

   including communications in connection therewith.

                5. All documents attached to any pleading, affidavit, declaration, or other filing that

   is a part of the record in this case.

                6. All documents identified by Plaintiff in its Initial Disclosures and produced in

   discovery.

                7. All documents produced by parties or third parties throughout discovery in this

   matter.

             The aforementioned documents, electronically stored information and tangible things are

   located at Plaintiff’s attorneys’ offices at 1350 Avenue of the Americas, 2nd Floor, New York, NY

   10019.

             These documents may contain confidential business and proprietary data, in which case

   such documents will be produced only pursuant to a confidentiality agreement. Moreover, Plaintiff

   reserves the right to object to production of individual documents or sets of documents for any

   reason including, without limitation, burden, privacy, relevance, and privilege. Further, Plaintiff

   emphasizes that this list is based upon its preliminary review of the facts surrounding this action

   and may not be exhaustive. Accordingly, Plaintiff reserves the right to supplement or amend this

   list.

          (iii) A computation of each category of damages claimed by the disclosing party – who
   must also make available for inspection and copying as under Rule 34 the documents or other
   evidentiary material, unless privileged or protected from disclosure, on which each
   computation is based, including materials bearing on the nature and extent of injuries
   suffered.
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          Benlida demands judgment against defendant Circuitronix LLC (a) for damages in the

   amount of $13,655,335.93; (b) for prejudgment interest in accordance with the contract between

   the parties or statutory interest from the date of loss, plus costs in accordance with Florida Statute

   § 55.03 and 28 U.S.C. § 1961; and (c) for such other and further relief as this court deems proper

   and just, (d) attorney’s fees in connection with pursuit of recovery of the stated damages, including,

   without limitation those in connection with this action, and for such other and further relief as this

   court deems proper and just. Plaintiff reserves the right to amend or supplement this disclosure if

   further information becomes available.

          (iv) For inspection and copying as under Rule 34, any insurance agreement under
   which an insurance business may be liable to satisfy all or part of possible judgment in the
   action or to indemnify or reimburse for payments made to satisfy the judgment.

          None.
   Dated: New York, New York
          February 11, 2022
                                                         Respectfully submitted,
                                                         MAZZOLA LINDSTROM LLP



                                                  By:    ______________________
                                                         Jean-Claude Mazzola, Esq.
                                                         1350 Avenue of the Americas, 2nd Floor
                                                         New York, NY 10019
                                                         Tel: (646) 250-6666
                                                         Attorneys for Plaintiff

   To:    Chauncey D. Cole IV, Esq. (via email)


                                    CERTIFICATE OF SERVICE
   I HEREBY CERTIFY that a true copy of the foregoing has been served via electronic mail on a
   registered CM/ECF user on February 11, 2022.
                                                  By:    ______________________
                                                         Kevin Kelly, Esq.
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                             EXHIBIT G
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD., et al.

             Plaintiffs,

   v.

   CIRCUITRONIX LLC,

         Defendant.
   ____________________________________/

    DEFENDANT’S FIRST REQUESTS FOR ADMISISONS TO PLAINTIFF JIANGMEN
                    BENLIDA PRINTED CIRCUIT CO., LTD.

             Defendant, Circuitronix, LLC (“CTX”), pursuant to Federal Rule of Civil Procedure 36,
   requests Defendant Jiangmen Benlida Printed Circuit Co., LTD (“Benlida”) respond to the
   following Requests for Admissions within thirty (30) days after service.

                                              INSTRUCTIONS
             1.      If a matter is not admitted, the response must either specifically deny the matter or
   state in detail why the Plaintiff cannot truthfully admit or deny the matter. A denial must fairly
   respond to the substance of the matter, and when good faith requires that plaintiff qualify an
   answer or deny only a portion of the matter, the response must both specify the portion admitted
   and qualify or deny the rest.
             2.      If Plaintiff asserts lack of knowledge of information as a reason for failing to
   admit or deny any matter, Plaintiff must state that it made a reasonable inquiry, and that the
   information Plaintiff knows or can readily obtain is insufficient for Plaintiff to admit or deny the
   matter.
             3.      Grounds for objecting to a Request must be stated with specificity. Plaintiff may
   not object solely on the ground that a Request presents a genuine issue for trial.
             4.      Each Request is to be read, construed, and responded to separately and
   independently without reference to or limitation by any other Request, unless otherwise noted.




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                                                  DEFINITIONS

             1.    “Benlida” shall mean Jiangmen Benlida Printed Circuit Co., Ltd., as well as any

   predecessor, successor, affiliate, subsidiary, partner, agent, employee, representative or other

   individual or entity acting on behalf of Jiangmen Benlida Printed Circuit Co., Ltd.

             2.    “Circuitronix Hong Kong” shall mean Circuitronix Hong Kong Ltd.

             3.    “Circuitronix LLC” shall mean the named Defendant in this case.

             4.    “You” or “your” shall mean Benlida, as well as any predecessor, successor, affiliate,

   subsidiary, partner, agent, employee, representative or other individual or entity acting on their

   behalf.

                                    REQUESTS FOR ADMISSIONS
                             (Allegations using “BLDCCT-HK” designation)
             1.    Admit that, between 2018 and 2020, Benlida used the designation prefix

   “BLDCCT-HK” followed by an invoice number to refer to invoices issued to Circuitronix Hong

   Kong.

             2.    Admit that all of the invoices identified in paragraphs 261 to 316 of the Third

   Amended Complaint, each of which are referenced using the designation prefix “BLDCCT-HK,”

   were issued by Benlida to Circuitronix Hong Kong.

             3.    Admit that all of the invoices identified in paragraphs 318 to 337 of the Third

   Amended Complaint, each of which are referenced using the designation prefix “BLDCCT-HK,”

   were issued by Benlida to Circuitronix Hong Kong.

             4.    Admit that all of the invoices identified in paragraphs 341 to 431 of the Third

   Amended Complaint, each of which are referenced using the designation prefix “BLDCCT-HK,”

   were issued by Benlida to Circuitronix Hong Kong.




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                        (Allegations using “CCT-BLD-[#](HK)” designation)

         5.      Admit that Benlida issued Invoice “CCT-BLD-190329001(HK),” referenced in

   paragraph 317 of the Third Amended Complaint, to Circuitronix Hong Kong.

         6.      Admit that Benlida issued Invoice “CCT-BLD-190403002(HK),” referenced in

   paragraph 338 of the Third Amended Complaint, to Circuitronix Hong Kong.

         7.      Admit that Benlida issued Invoice “CCT-BLD-190409002(HK),” referenced in

   paragraph 339 of the Third Amended Complaint, to Circuitronix Hong Kong.

         8.      Admit that Benlida issued Invoice “CCT-BLD-190412001(HK),” referenced in

   paragraph 340 of the Third Amended Complaint, to Circuitronix Hong Kong.

   Dated: May 3, 2023

                                      Respectfully submitted,

           PODHURST ORSECK, P.A.                     CHAUNCEY COLE, PA
           Co-Counsel for Circuitronix, LLC          Co-Counsel for Circuitronix, LLC
           One S.E. 3rd Avenue, Suite 2300           9100 South Dadeland Blvd., Suite 1553
           Miami, Florida 33131                      Miami, Florida 33156
           Tel.: 305-358-2800                        Tel.: (786) 497-7053

           By: /s/ Stephen F. Rosenthal              By: /s/ Chauncey D. Cole IV
           Stephen F. Rosenthal                      Chauncey D. Cole, IV, Esq.
           Florida Bar No. 0131458                   Florida Bar No. 102184
           srosenthal@podhurst.com                   chauncey.cole@coletrial.com
           Christina H. Martinez
           Florida Bar No. 1029432
           cmartinez@podhurst.com




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                                   CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission
   of Notices of Electronic Filing generated by CM/ECF on May 3, 2023 as filed with the Clerk of the
   Court using CM/ECF.
                                                               By: /s/ Stephen F. Rosenthal
                                                                       Stephen F. Rosenthal




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SANDRA RODRIGUEZ

From:                     SANDRA RODRIGUEZ
Sent:                     Wednesday, May 3, 2023 4:45 PM
To:                       jeanclaude@mazzolalindstrom.com; richard@mazzolalindstrom.com;
                          ruofei@mazzolalindstrom.com; steven@mazzolalindstrom.com
Cc:                       STEPHEN F. ROSENTHAL; Christina H. Martinez; Chauncey Cole; JESSICA MILLER
Subject:                  SERVICE OF COURT DOCUMENT - Case 0:21-cv-60125-RNS Jiangmen Benlida Printed
                          Circuit Co., Ltd. v. Circuitronix, LLC
Attachments:              Request for Admissions (5-3-2023).pdf




 Court:                    UNITED STATES DISTRICT COURT, SOUTHERN DISTRICT
                           OF FLORIDA
 Case No.:                 0:21-cv-60125-RNS
 Style:                    Jiangmen Benlida Printed Circuit Co., Ltd. v. Circuitronix, LLC
 Document Title:                1. DEFENDANT’S REQUEST FOR ADMISSIONS TO
                                   PLAINTIFF
 Sender’s Name:            Stephen F. Rosenthal, Esq.
 Sender’s Telephone No:    305-358-2800
                           Please note that pursuant to Fed.R.Civ.Pro 5(b)(2)(E) and the
                           S.D. Fla. Local Rules you are being served with court
                           documents and you will not receive paper copies.
 Service List:             jeanclaude@mazzolalindstrom.com;
                           richard@mazzolalindstrom.com;
                           ruofei@mazzolalindstrom.com;
                           steven@mazzolalindstrom.com;
                           srosenthal@podhurst.com;
                           chauncey.cole@coletrial.com;
                           cmartinez@podhurst.com;
                           srodriguez@podkhurst.com;
                           jmiller@podhurst.com




Jessica Miller
Podhurst Orseck, P.A.
Suntrust International Center
One SE Third Avenue, Suite 2300
Miami, FL 33131
305 358-2800 (phone)
305 358-2382 (fax)
jmiller@podhurst.com




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                             EXHIBIT H
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     IN THE UNITED STATES DISTRICT COURT
     FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                             x
     J1ANGMEN BENLIDA PRINTED                                    CM/ECF
     CIRCUIT CO., LTD., and ROK PRINTED
     CIRCUIT CO., LTD.,                                          Civil Action No.: 21-60125-CIV-
                                                                 SCOLA/SNOW
                               Plaintiffs,

                 -against-

     CIRCUITRONIX LLC,

                               Defendant.
                                                             x



                                      Declaration of Huang Hanchao

            1, Huang Hanchao, state under penalty of perjury, pursuant to 28 USC 1746, as follows:

            1.        In English I use the name "Douglas."

            2.        Huang Xiangjiang and I are principals and members of both plaintiff Jiangmen

     Benlida Printed Circuit Co., Ltd., and plaintiff ROK Printed Circuit Co., Ltd.

            2.        Mr. Huang and 1, along with several other employees and members of Benlida,

     participated in over eighteen hours of mediation, with retired judge Joseph Farina acting as the

     mediator, on May 24, 25, and 28. (As we participated remotely via Zoom, from China, these

     sessions carried over into the following days, as we are 12 hours ahead in China.) CTX's

     principal Rishi Kukreja was also in attendance; as he knows us both personally, and our positions,

     he could not have any confusion that both Benlida and ROK were "present" during the mediation,

     as Mr. Kukreja is quite aware that both Mr. Huang and speak for Benlida and ROK. Indeed, I

     was the signatory to the 2012 and 2016 agreements with CTX, having executed the agreements




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   in behalf of both Ben Iida and ROK, so Mr. Kukreja could not have any good-faith basis to

   believe that ROK was not a participant at the mediation.

          4.      I understand that CTX is claiming to be confused by the allegations in the

   complaint regarding which sums claimed on the invoices identified as unpaid in the complaint

   originated from Benlida versus ROK. To clarify, none of the invoices identified are ROK

   invoices. Rather, Benlida issued all of the invoices. All of the moneys owed by CTX are owed

   to Benlida, not ROK. In fact, ROK ceased manufacturing and selling goods to CTX by mid 2018.

          5.      The "CCT-BLD"-denominated invoices identified in paragraphs 13 through 260

   of the third amended complaint are Ben Iida invoices issued to CTX; the "BLDCCT-HK"­

   denominated invoices identified in paragraphs 261 through 431 are Benlida invoices that were

   issued to CTX-HK which, according to the Business Authorization (exhibit "A" to Mazzola

   declaration), are the responsibility of CTX.


   I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct.

   Executed on June 29, 202 l
   Jiangmen, China

                                                           i 0
                                                  Huang Hanc ao ("Douglas")




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


                         CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD., et al.

   Plaintiffs,
   v.
   CIRCUITRONIX LLC,
   Defendant,
   ____________________________________/

                 Benlida’s Revised Response to Interrogatory 14

      14. From the date of the earliest invoice identified in your Third Amended Complaint to July
          1, 2020, state how much money Benlida was paid by Circuitronix, LLC and the start date
          you use for calculating the figure in your answer.
          Answer: Earliest date of invoice is Dec 18, 2018. From December 18 to 23, no
          payment was received from Circuitronix US or Circuitronix HKG, so the earliest
          date of payment is December 24, 2018.
                                                SHIPMENT
         ITEM         PAYMENT AMOUNT                                           NOTE
                                                 AMOUNT

    CTX-US paid to                                               Includes US$100,000 received
                        US$12,240,285.87      US$10,058,195.91
        BLD                                                      on OSP chemical payment



    CTX-HKG paid to      US$2,756,127.94       US$6,372,566.07
         BLD

        TOTAL           US$14,996,413.81      US$16,430,761.98



          Through the end of December 2018, Circuitronix owed Benlida US$10,486,885.95 as
          receivables, with US$5,792,229.02 overdue as of the end of December 2018.




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   I, Tracy Huang, state under penalty of perjury, pursuant to 28 U.S.C. 1746 this 8th day of
   June 2023, that the above responses to Circuitronix’s interrogatory 14 is true and correct.




                                                     ________________________________
                                                     Tracy Huang




   Dated: June 8, 2023
          New York, New York

                                                     MAZZOLA LINDSTROM LLP
                                                     Attorneys for Plaintiff Benlida

                                                     By: /s/ Jean-Claude Mazzola
                                                     Jean-Claude Mazzola
                                                     1350 Avenue of the Americas, 2nd Floor
                                                     New York, NY 10019
                                                     646.250.6666
                                                     jeanclaude@mazzolalindstrom.com



   Service via email upon counsel for defendant Circuitronix LLC




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-60125-CIV-SCOLA/SNOW

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD., et al.

   Plaintiffs,

   v.

   CIRCUITRONIX LLC,

   Defendant,
   ____________________________________/

                    DEFENDANT’S FIRST SET OF INTERROGATORIES TO
                 PLAINTIFF JIANGMEN BENLIDA PRINTED CIRCUIT CO., LTD.

           Defendant/Counter-Plaintiff, Circuitronix, LLC (“CTX”), pursuant to Federal Rule of

   Civil Procedure 33, gives notice of propounding interrogatories, numbered 1 through 18, directed

   to Plaintiff/Counter-Defendant, Jiangmen Benlida Printed Circuit., Ltd. (“Benlida”), who is

   hereby requested and required to be answered under oath and in writing, within the time

   prescribed by said rule.

           WE HEREBY CERTIFY that a copy of the forging was served via electronic mail this 23

   day of April, 2022 to: Jean-Claude Mazzola, Esq., jeanclaude@mazzolalindstrom.com, and

   Richard Lerner, Esq., richard@mazzolalindstrom.com, Mazzola Lindstrom, LLP, 1350 Avenue

   of the Americas, 2nd Floor, New York, New York 10019.

                                               Respectfully submitted,

                     PODHURST ORSECK , P.A.                              CHAUNCEY COLE, PA
                     SunTrust International Center                       9100 South Dadeland Blvd., Suite 1553
                     One S.E. 3rd Avenue, Suite 2300                     Miami, Florida 33156
                     Miami, Florida 33131                                Tel.: (786) 497-7053
                     Tel.: 305-358-2800/Fax: 305-358-2382



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                 By: /s/ Stephen F. Rosenthal                   By: /s/ Chauncey D. Cole IV
                 Stephen F. Rosenthal                           Chauncey D. Cole, IV, Esq.
                 Florida Bar No. 0131458                        Florida Bar No. 102184
                 srosenthal@podhurst.com                        chauncey.cole@coletrial.com
                 Robert C. Josefsberg
                 Florida Bar No. 040856
                 rjosefsberg@podhurst.com
                 Matthew Weinshall
                 Florida Bar No. 84783
                 mweishall@podhurst.com
                 Christina H. Martinez
                 Florida Bar No. 1029432
                 cmartinez@podhurst.com


                                          Counsel for Circuitronix, LLC




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                                             DEFINITIONS

   1.    The terms “identification,” “identify,” or “identity,” when used in reference to a natural

         person, shall mean to state the full name, the present or last known home and business

         address, home and business telephone numbers, their employer and job title and present

         whereabouts of each such person.

   2.    The terms “identification,” “identify,” or “identity” when used in reference to a corporation

         or other entity or person, shall mean to state the full legal name, state of incorporation or

         organization, address of the home office, and of the principal place of business, and in the

         case of LLCs and other non-incorporated business entities, identify the majority owner(s) and

         the manager(s) of the business.

   3.    The terms “identification,” “identify,” or “identity,” when used in reference to a document,

         communication or file, shall mean to state its author, the manner and date or time period in

         which it originated, was developed or kept, its original location, its present location, and all

         persons who have been custodians of the document or file. Such identification should be

         made with a sufficient level of particularity to enable you to respond to a request to produce

         same.

   4.    “Benlida” shall mean Jiangmen Benlida Printed Circuit Co., Ltd., as well as any predecessor,

         successor, affiliate, subsidiary, partner, agent, employee, representative or other individual or

         entity acting on behalf of Jiangmen Benlida Printed Circuit Co., Ltd.

   5.    “You” or “your” shall mean Benlida, as well as any predecessor, successor, affiliate,

         subsidiary, partner, agent, employee, representative or other individual or entity acting on

         their behalf.

   6.    “Sinosure” shall mean China Export & Credit Insurance Corporation.




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   7.      “Communication” means all documents relating in any way to transmission or exchange

           of information between two or more persons or entities, orally or in writing, and includes,

           without limitation, any conversation or discussion, whether face-to-face or by means of

           telephone, telegraph, telex, telecopier, electronic, text, or other medium.



                                            INSTRUCTIONS


   1. If you object to fully identifying a document or oral communication because of a privilege,
        please provide the following information, unless divulging the information would disclose the
        privileged information:
               a.     the nature of the privilege claimed (including work
                      product);
               b.     if the privilege is being asserted in connection with a claim or
                      defense governed by state law, the state privilege rule being
                      invoked;
               c.     the date of the document or oral communication;

               d.     if a document: its type (correspondence, memorandum,
                      facsimile, etc.), custodian, location, and such other
                      information sufficient to identify the document for a subpoena
                      duces tecum or a document request, including where
                      appropriate the author, the addressee, and, if not apparent, the
                      relationship between the author and addressee;

               e.     if an oral communication: the place where it was made, the names
                      of the persons present while it was made, and, if not apparent, the
                      relationship of the persons present to the declarant; and

               f.     the general subject matter of the document or oral
                      communication.
   2. Please state in your respective answer whether any or all of the names, documents, or
        information requested is aggregated in a computerized or electronic database and, if so,
        where the database is located and maintained and whether such database is searchable.




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                                     INTERROGATORRIES

   1.    State the accounting methodology or methodologies you used for your business with
         Circuitronix, LLC between January 1, 2016 to January 1, 2021, such as “FIFO” (first in,
         last out), “LIFO” (last in, first out), and the period of time during which each such
         methodology was used.




   2.    With respect to your allegation in Paragraph 12 of the Third Amended Complaint that
         “the first” invoice “was paid in part,” identify which invoice you are referring to, its
         amount, the amount you allege Circuitronix, LLC paid towards it, and the date that
         allegedly partial payment was made.




   3.    Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
         Complaint that Circuitronix, LLC owes for “price increases” ($2,115,927.57) was
         calculated, showing the amount of “price increase” for each invoice you used in your
         calculation of this figure (and each applicable invoice number).




   4.    Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
         Complaint as “the invoiced amount” ($11,539,408.36) was calculated, showing the
         amount for each invoice you used in your calculation of this figure (and each applicable
         invoice number).




   5.    In Paragraph 443 of the Third Amended Complaint, you allege that “Circuitroinix failed
         to make full payment for such goods.” With respect to each invoice you are referring to
         in this allegation, identify:
             a. the dollar amount by which you claim Circuitronix, LLC fell short of making
                  “full” payment, and
             b. the date on which the less than full payment you attribute to that invoice occurred.




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   6.    State the key facts which, in your view, support your allegation in Paragraph 444 of the
         Third Amended Complaint that the “lead-time penalty” discussed was “unconsented-to,”
         including the date, location and participants at any meeting and/or written
         communications evidencing your lack of consent to lead-time penalties.




   7.    To the extent you agree that you incurred any lead-time penalties as of the date that, as
         you allege in Paragraph 444 of the Third Amended Complaint, “Defendant Circuitronix
         alleged that … Benlida owed it a total of $6,561,044.21,” state the amount of lead-time
         penalties that had accrued as of that date by your own calculations.




   8.    With respect to your allegation in Paragraph 455 of the Third Amended Complaint that
         “Defendant Circuitronix has failed to remit payment of the debt although it has been in
         possession of the invoices”:
            a. identify which invoices this allegation relates to;
            b. state whether you agree that Circuitronix, LLC remitted any payments to you after
                its receipt of those invoices; and,
            c. if so, explain why you did not credit any or all of those payments to those
                invoices.




   9.    Identify who served as the primary points of contact at Benlida and at Sinosure between
         those two companies, between January 1, 2016 and the present, concerning business with
         Circuitronix, LLC, and provide those individuals’ mailing addresses, email addresses,
         and telephone numbers. For the Benlida employees, state whether they are still employed
         with Benlida (or ROK Printed Circuit Co. Ltd.), and if not, provide their last known
         contact information.




   10.   Identify any contract or agreement you had with Sinosure between January 1, 2016 to the
         present that applied or applies to your business with Circuitronix, LLC.




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   11.   With respect to each contract or agreement with Sinosure that is responsive to
         Interrogatory No. 10 above, identify the provision or provisions that you were relying
         upon when you insisted that Circuitronix, LLC make a 120% prepayment of the order
         value before you would release the orders.




   12.   Identify all communications you had with Sinosure between January 1, 2016 to the
         present in which you informed Sinosure that Circuitronix, LLC was indebted to you.




   13.   Identify all communications you had with any bank or other financial institution between
         January 1, 2016 to the present concerning the subject of any debt you owe or owed
         Circuitronix, LLC or any debt Circuitronix, LLC owed or owes you.




   14.   Identify all communications you had with any of the following companies between
         January 1, 2016 and the present, who from Benlida communicated with them, the subject-
         matters of the communications:
             a. Shenzhen Kinwong Electronic Co., Ltd.;
             b. Kinwong Electronic (Hong Kong) Co., Ltd.
             c. Super Tech Circuit Board Co., Ltd.;
             d. Winglung
             e. Guangdong Kingshine




   15.   Identify all communications you had with any of the customers on the attached Exclusive
         Customer list between January 1, 2016 and the present, who from Benlida communicated
         with them, the subject-matters of the communications.




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   16.   From the date of the earliest invoice identified in your Third Amended Complaint to July
         1, 2020, state how much money Benlida was paid by Circuitronix, LLC and the start date
         you use for calculating the figure in your answer.




   17.   For the payments you considered in your answer to Interrogatory No. 16, above, identify
         any communications from you to Circuitronix, LLC that explain how that money was
         credited by Benlida.




   18.   From January 1, 2016 to July 1, 2020, how much money was Benlida paid by
         Circuitronix, LLC?




   19.   For the payments you considered in your answer to Interrogatory No. 18, above, identify
         any communications from you to Circuitronix, LLC that explain how that money was
         credited by Benlida.




   20.   Who at Benlida has been responsible for credit insurance between January 1, 2016 and
         the present? Provide those individuals’ mailing addresses, email addresses, and
         telephone numbers.




   21.   Identify all notices from the customs authority of China and tax department of China
         between January 1, 2016 and the present received by Benlida and/or ROK Printed Circuit
         Co. Ltd. stating that either company was in default.

   22.   Disclose the amount of your annual sales (in dollars) in the United States, Japan,
         European Union countries, and Hong Kong for 2016-2021.




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD., et al.

   Plaintiffs,

   v.

   CIRCUITRONIX LLC,

   Defendant,
   ____________________________________/


                 Benlida’s Responses to Circuitronix’s Interrogatories

   1.      State the accounting methodology or methodologies you used for your business with
           Circuitronix, LLC between January 1, 2016 to January 1, 2021, such as “FIFO” (first in,
           first out), “LIFO” (last in, first out), and the period of time during which each such
           methodology was used.

           Answer: Benlida has always used FIFO, and has applied current payments to past
           due invoices, thereby reducing the Circuitronix (US and HK) A/R from the earliest
           periods. Since prepayment commenced, however, the premiums added on to the
           purchases and the prepayment for the unshipped products have been applied to pay
           down past debt on a FIFO basis.

   2.      Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
           Complaint that Circuitronix, LLC owes for “price increases” ($2,115,927.57) was
           calculated.


           Answer: Benlida and Circuitronix met on December 14, 2016. At the meeting, CTX
           agreed to pay increasing prices on shipments that started from March 2017. (The
           logic of calculation was fixed in the meeting minutes.) Until September 2019, BLD’s
           calculation result is US$2,115,927.57. This calculation was set forth in a spread sheet
           sent by Tracy Huang to Rishi Kukreja, with amount of US$3,336,902.28. This
           number was brought down due to FIFO to US$2.11 million before litigation was
           commenced. VAT of CCL in Benlida records support this number.




                                                   1
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   3.     Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
          Complaint as “the invoiced amount” ($11,539,408.36) was calculated.

          Answer:

                                                Currency: USD
                          Cutoff Date               May 31st, 2023
                     Shipment Amount
                    Through Cutoff Date          US$156,031,184.88
                      Payment Amount
                                                 US$140,303,257.65
                    Through Cutoff Date
                    Debit notes BLD/ROK
                                                   US$4,188,518.87
                           Confirm 1
                      Balance Amount              US$11,539,408.36
                    Per agreement, not recognized as payment for shipments is
                    U$742,000 which is out of payment amount on above sheet.
                                         ITEM                            AMOUNT
                    BLD received OSP chemical payment                US$235,000.00
                    ROK received OSP chemical payment                US$142,000.00
                    BLD received Immersion tin investment
                                                                     US$80,000.00
                    payment
                    ROK received Immersion tin investment
                                                                     US$60,000.00
                    payment
                    BLD received fit up cost                         US$25,000.00
                    wire transfer by Tracy                           US$200,000.00
                    TOTAL                                            US$742,000.00



   4.     In Paragraph 443 of the Third Amended Complaint, you allege that “Circuitroinix failed
          to make full payment for such goods.” With respect to this allegation, identify any
          invoice as to which BLD alleges partial payment was received.

          Answer: Through the end of May 2020, partial payment US$11,569.69 was received
          on INV# BLDCCT-HK181218001.




   1
    Benlida / ROK did not agree to all of the debit notes that Circuitronix sent. Lead time penalties
   and air freight claims were and are in dispute.



                                                      2
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   5.    State the key facts which, in your view, support your allegation in Paragraph 444 of the
         Third Amended Complaint that the “lead-time penalty” discussed was “unconsented-to,”
         including the date, location and participants at any meeting and/or written
         communications evidencing your lack of consent to lead-time penalties.

         Answer: In an email sent by Tracy Huang to Rishi Kukreja on November 13/14,
         2019, entitled “Lead Time Penalty for Benlida for May 2019 --Benlida feedback,”
         Ms. Huang stated clearly that Benlida did not agree to the lead-time penalty amount
         claimed by Circuitronix. In the email Ms. Huang also included several attachments
         setting forth the parties’ calculations / agreements for the period of September 2015
         to October 2017.



   6.    To the extent you agree that you incurred any lead-time penalties as of the date that, as
         you allege in Paragraph 444 of the Third Amended Complaint, “Defendant Circuitronix
         alleged that … Benlida owed it a total of $6,561,044.21,” state the amount of lead-time
         penalties that had accrued as of that date by your own calculations.

         Answer: Using the logic mentioned above, the amount of lead-time penalties that
         had accrued was US$1,133,106 as to the order period of February 2016 to May
         2019.


   7.    With respect to your allegation in Paragraph 455 of the Third Amended Complaint that
         “Defendant Circuitronix has failed to remit payment of the debt although it has been in
         possession of the invoices,” identify whether the allegation refers to all of the invoices in
         the Third Amended Complaint or, if a subset of the invoices, the paragraph numbers of
         the Third Amended Complaint that comprise that subset.

         Answer: Through the end of May 2020, and based upon the FIFO method set forth
         in answer to question 1, the invoices stated in the Third Amended Complaint
         remain unpaid.




                                                   3
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   8.    Identify who served as the primary points of contact at Benlida and at Sinosure between
         those two companies, between January 1, 2016 and the present, concerning business with
         Circuitronix, LLC, and provide those individuals’ mailing addresses, email addresses,
         and telephone numbers. For the Benlida employees, state whether they are still employed
         with Benlida (or ROK Printed Circuit Co. Ltd.), and if not, provide their last known
         contact information.

         Answer: Benlida’s main contact with Sinosure was Ms. Chen Zhanjiao,
         accounting@benlida.com, 86-750-3962065. Ms. Chen is still employed by Benlida.

         Sinosure’s main current contact with Benlida is Lyndon Liu （刘卓麟）, China
         Export & Credit Insurance Corportaion Guangdong Branch Indemnity &
         Collection Department, Collection Office, Vice Manager, Phone: 13533039891,
         liuzhuolin@sinosure.com.cn (Note: the prior Sinosure contact is no longer employed
         by Sinosure, and the address and other contact information for the former employee
         is unknown).




   9.    With respect to each contract or agreement that you had with Sinosure between January
         1, 2016 to the present that applied or applies to your business with Circuitronix, LLC,
         identify the provision or provisions that you were relying upon when you insisted that
         Circuitronix, LLC make a 120% prepayment of the order value before you would release
         the orders.

         Answer: Please refer to email “2020.02.24回复_ 赔后溢价出货申请.eml”. Sinosure
         required minimum 10% premium of shipment amount.




   10.   Identify all communications you had with Sinosure between January 1, 2016 to the
         present in which you informed Sinosure that Circuitronix, LLC was indebted to you.

         Answer: (refer to September 18, 2019 email:
         “两厂自合作至2019.08应收CCT余额（扣款按所有扣款单金额）(2)(1).eml” Upon
         information and belief, all email communications between Benlida and Sinosure
         have been disclosed).




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   11.   Identify all communications you had with any bank or other financial institution between
         January 1, 2016 to the present concerning the subject of any debt you owe or owed
         Circuitronix, LLC or any debt Circuitronix, LLC owed or owes you.

         Answer: Benlida does not include Sinosure in response to this question. While
         Benlida did report to banks and financial institutions debts generally owed to
         Benlida, it did not make any representations to any banks or financial institutions
         about Circuitronix’s debts owed to Benlida.



   12.   Identify all communications involving Huang Xiangjiang, Tracy Huang, Huang Hanchao,
         Yukun Wu, or Chen Zhanjiao, that you had with any of the following companies between
         January 1, 2016 and the present and the subject-matters of the communications:

            a.   Shenzhen Kinwong Electronic Co., Ltd.;
            b.   Kinwong Electronic (Hong Kong) Co., Ltd.
            c.   Super Tech Circuit Board Co., Ltd.;
            d.   Winglung
            e.   Guangdong Kingshine

         Answer: There were no written communications with a-d, but there were oral
         communications with a, b, and e. There were no direct communications, written or
         oral with c or d.

         Topics of communications with a and b: They reached out to Benlida to speak about
         its own litigation with Circuitronix. Douglas Huang and Roger Wu met with them.

         Topic of communications with e: Mr. Huang met with them to discussion market
         conditions for PCBs.



   13.   Identify all communications you had with any Circuitronix Customer (as defined in § 1.5
         of the Manufacturing Agreement) between January 1, 2016 and the present (April 23,
         2022), with the exception of communications related to Customers’ coordinated and
         Circuitronix-authorized site visits to Benlida’s factory.

         Answer: None that Benlida can recall.




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   14.   From the date of the earliest invoice identified in your Third Amended Complaint to July
         1, 2020, state how much money Benlida was paid by Circuitronix, LLC and the start date
         you use for calculating the figure in your answer.


         Answer: Earliest date of invoice is Dec 18, 2018. From December 18 to 23, no
         payment received from Circuitronix US or Circuitronix HKG, so the earliest date of
         payment is December 24, 2018.

                                                        SHIPMENT
                 ITEM         PAYMENT AMOUNT                                  NOTE
                                                         AMOUNT


                                                                         Includes
            CTX-US paid to
                                US$12,240,285.87      US$10,058,195.91   US$100,000
              BLD+ROK
                                                                         received on
                                                                         OSP chemical
                                                                         payment

           CTX-HKG paid to       US$2,756,127.94       US$6,372,566.07
             BLD+ROK
               TOTAL            US$14,996,413.81      US$16,430,761.98

         Through the end of December 2018, Circuitronix owed Benlida US$10,486,885.95 as
         receivables, with US$5,792,229.02 overdue as of the end of December 2018.




   15.   For the payments you considered in your answer to Interrogatory No. 16, above, identify
         any communications from you to Circuitronix, LLC that explain how that money was
         credited by Benlida.

         Answer: During the above period, monthly statements were sent, and since
         February 2020, the statements have included the payments received during that
         month and the total amount of the receivable.




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   16.   From January 1, 2016 to July 1, 2020, how much money was Benlida paid by
         Circuitronix, LLC?

         Answer:

                             PAYMENT AMOUNT                      SHIPMENT     AMOUNT
                           BLD                ROK                BLD                ROK
    CTX-US PAID
                    US$50,166,450.79    US$21,466,823.05   US$49,556,967.46   US$17,972,275.97
    CTX-HKG PAID                         US$1,360,000.00
                    US$17,039,336.45                       US$26,106,620.62    US$2,084,308.41
    TOTAL
                    US$67,205,787.24    US$22,826,823.05   US$75,663,588.08   US$20,056,584.38
    BLD+ROK
                                        US$90,032,610.29                      US$95,720,172.46
    TOTAL

         Through the end of December 2015, CTX owed BLD US$6,510,527.92 as
         receivables, with $282757.74 overdue as of the end of 2015

         Note:
         1) BLD payment amount includes OSP chemical payment US$235,000
         2) ROK payment amount includes OSP chemical payment US$377,000 + wire
         transfer by Tracy Huang account US$200,000.




   17.   For the payments you considered in your answer to Interrogatory No. 16, above, identify
         any communications from you to Circuitronix, LLC that explain how that money was
         credited by Benlida.

         Answer: During above period, monthly statements were sent. For the months of
         January 2016 to December 2017, emails show the payments received, each month
         and the total amount of receivables. For the months of February 2020 to July 2020,
         emails show the payments received that month and the total amount of receivable.




   18.   Who at Benlida has been responsible for credit insurance between January 1, 2016 and
         the present? Provide those individuals’ mailing addresses, email addresses, and
         telephone numbers.

         Answer: See answer to question 8 above.




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   19.    Identify all notices from the customs authority of China and tax department of China
          between January 1, 2016 and the present received by Benlida and/or ROK Printed Circuit
          Co. Ltd. stating that either company was in default.

          Answer: The tax refunds were withdrawn according to the regulations, but these
          actions were handled by the tax department, and there were no specific notifications
          or certifications for these actions.




   20.    For each claim Benlida made upon China Export & Credit Insurance Corporation (a/k/a
          Sinosure), between 2016 through 2021, for alleged losses arising from Benlida’s business
          with Circuitronix, LLC, identify the amount of money Benlida sought.

          Answer: US$7.144 million.



   Dated: May 17, 2023
          New York, New York


                                                      MAZZOLA LINDSTROM LLP
                                                      Attorneys for Plaintiff Benlida

                                                      By: /s/ Jean-Claude Mazzola
                                                      Jean-Claude Mazzola
                                                      1350 Avenue of the Americas, 2nd Floor
                                                      New York, NY 10019
                                                      646.250.6666
                                                      jeanclaude@mazzolalindstrom.com



   Service via email upon counsel for defendant Circuitronix LLC




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                             EXHIBIT L
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD., et al.

   Plaintiffs,                                                [corrected: May 24, 2023]

   v.

   CIRCUITRONIX LLC,

   Defendant,
   ____________________________________/




                 Benlida’s Responses to Circuitronix’s Interrogatories

   1.      State the accounting methodology or methodologies you used for your business with
           Circuitronix, LLC between January 1, 2016 to January 1, 2021, such as “FIFO” (first in,
           first out), “LIFO” (last in, first out), and the period of time during which each such
           methodology was used.
           Answer: Benlida has always used FIFO, and has applied current payments to past
           due invoices, thereby reducing the Circuitronix (US and HK) A/R from the earliest
           periods. Since prepayment commenced, however, the premiums added on to the
           purchases and the prepayment for the unshipped products have been applied to pay
           down past debt on a FIFO basis.
   2.      Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
           Complaint that Circuitronix, LLC owes for “price increases” ($2,115,927.57) was
           calculated.
           Answer: Benlida and Circuitronix met on December 14, 2016. At the meeting, CTX
           agreed to pay increasing prices on shipments that started from March 2017. (The
           logic of calculation was fixed in the meeting minutes.) Until September 2019, BLD’s
           calculation result is US$2,115,927.57. This calculation was set forth in a spread sheet
           sent by Tracy Huang to Rishi Kukreja, with amount of US$3,336,902.28. This
           number was brought down due to FIFO to US$2.11 million before litigation was
           commenced. VAT of CCL in Benlida records support this number.

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   3.     Explain in detail how the amount you claim in Paragraph 437 of the Third Amended
          Complaint as “the invoiced amount” ($11,539,408.36) was calculated.
          Answer:
                                               Currency: USD
                         Cutoff Date               May 31st, 2020

                      Shipment Amount
                     Through Cutoff Date        US$156,031,184.88

                      Payment Amount
                                                US$140,303,257.65
                     Through Cutoff Date

                    Debit notes BLD/ROK
                                                  US$4,188,518.87
                           Confirm 1

                      Balance Amount             US$11,539,408.36

                   Per agreement, not recognized as payment for shipments is
                   U$742,000 which is out of payment amount on above sheet.

                                        ITEM                            AMOUNT

                   BLD received OSP chemical payment                US$235,000.00

                   ROK received OSP chemical payment                US$142,000.00

                   BLD received Immersion tin investment
                                                                    US$80,000.00
                   payment

                   ROK received Immersion tin investment
                                                                    US$60,000.00
                   payment

                   BLD received fit up cost                         US$25,000.00

                   wire transfer by Tracy                           US$200,000.00

                   TOTAL                                            US$742,000.00



   4.     In Paragraph 443 of the Third Amended Complaint, you allege that “Circuitroinix failed
          to make full payment for such goods.” With respect to this allegation, identify any
          invoice as to which BLD alleges partial payment was received.
          Answer: Through the end of May 2020, partial payment US$11,569.69 was received
          on INV# BLDCCT-HK181218001.

   1
    Benlida / ROK did not agree to all of the debit notes that Circuitronix sent. Lead time penalties
   and air freight claims were and are in dispute.



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   5.    State the key facts which, in your view, support your allegation in Paragraph 444 of the
         Third Amended Complaint that the “lead-time penalty” discussed was “unconsented-to,”
         including the date, location and participants at any meeting and/or written
         communications evidencing your lack of consent to lead-time penalties.


         Answer: In an email sent by Tracy Huang to Rishi Kukreja on November 13/14,
         2019, entitled “Lead Time Penalty for Benlida for May 2019 --Benlida feedback,”
         Ms. Huang stated clearly that Benlida did not agree to the lead-time penalty amount
         claimed by Circuitronix. In the email Ms. Huang also included several attachments
         setting forth the parties’ calculations / agreements for the period of September 2015
         to October 2017.




   6.    To the extent you agree that you incurred any lead-time penalties as of the date that, as
         you allege in Paragraph 444 of the Third Amended Complaint, “Defendant Circuitronix
         alleged that … Benlida owed it a total of $6,561,044.21,” state the amount of lead-time
         penalties that had accrued as of that date by your own calculations.


         Answer: Using the logic mentioned above, the amount of lead-time penalties that
         had accrued was US$1,133,106 as to the order period of February 2016 to May
         2019.



   7.    With respect to your allegation in Paragraph 455 of the Third Amended Complaint that
         “Defendant Circuitronix has failed to remit payment of the debt although it has been in
         possession of the invoices,” identify whether the allegation refers to all of the invoices in
         the Third Amended Complaint or, if a subset of the invoices, the paragraph numbers of
         the Third Amended Complaint that comprise that subset.


         Answer: Through the end of May 2020, and based upon the FIFO method set forth
         in answer to question 1, the invoices stated in the Third Amended Complaint
         remain unpaid.




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   8.    Identify who served as the primary points of contact at Benlida and at Sinosure between
         those two companies, between January 1, 2016 and the present, concerning business with
         Circuitronix, LLC, and provide those individuals’ mailing addresses, email addresses,
         and telephone numbers. For the Benlida employees, state whether they are still employed
         with Benlida (or ROK Printed Circuit Co. Ltd.), and if not, provide their last known
         contact information.


         Answer: Benlida’s main contact with Sinosure was Ms. Chen Zhanjiao,
         accounting@benlida.com, 86-750-3962065. Ms. Chen is still employed by Benlida.


         Sinosure’s main current contact with Benlida is Lyndon Liu （刘卓麟）, China
         Export & Credit Insurance Corportaion Guangdong Branch Indemnity &
         Collection Department, Collection Office, Vice Manager, Phone: 13533039891,
         liuzhuolin@sinosure.com.cn (Note: the prior Sinosure contact is no longer employed
         by Sinosure, and the address and other contact information for the former employee
         is unknown).




   9.    With respect to each contract or agreement that you had with Sinosure between January
         1, 2016 to the present that applied or applies to your business with Circuitronix, LLC,
         identify the provision or provisions that you were relying upon when you insisted that
         Circuitronix, LLC make a 120% prepayment of the order value before you would release
         the orders.
         Answer: Please refer to email “2020.02.24回复_ 赔后溢价出货申请.eml”. Sinosure
         required minimum 10% premium of shipment amount.


   10.   Identify all communications you had with Sinosure between January 1, 2016 to the
         present in which you informed Sinosure that Circuitronix, LLC was indebted to you.


         Answer: (refer to September 18, 2019 email: “两厂自合作至 2019.08 应收 CCT 余
         额（扣款按所有扣款单金额）(2)(1).eml” Upon information and belief, all email
         communications between Benlida and Sinosure have been disclosed).




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   11.   Identify all communications you had with any bank or other financial institution between
         January 1, 2016 to the present concerning the subject of any debt you owe or owed
         Circuitronix, LLC or any debt Circuitronix, LLC owed or owes you.


         Answer: Benlida does not include Sinosure in response to this question. While
         Benlida did report to banks and financial institutions debts generally owed to
         Benlida, it did not make any representations to any banks or financial institutions
         about Circuitronix’s debts owed to Benlida.




   12.   Identify all communications involving Huang Xiangjiang, Tracy Huang, Huang Hanchao,
         Yukun Wu, or Chen Zhanjiao, that you had with any of the following companies between
         January 1, 2016 and the present and the subject-matters of the communications:

            a.   Shenzhen Kinwong Electronic Co., Ltd.;
            b.   Kinwong Electronic (Hong Kong) Co., Ltd.
            c.   Super Tech Circuit Board Co., Ltd.;
            d.   Winglung
            e.   Guangdong Kingshine


         Answer: There were no written communications with a-d, but there were oral
         communications with a, b, and e. There were no direct communications, written or
         oral with c or d.
         Topics of communications with a and b: They reached out to Benlida to speak about
         its own litigation with Circuitronix. Douglas Huang and Roger Wu met with them.
         Topic of communications with e: Mr. Huang met with them to discussion market
         conditions for PCBs.


   13.   Identify all communications you had with any Circuitronix Customer (as defined in § 1.5
         of the Manufacturing Agreement) between January 1, 2016 and the present (April 23,
         2022), with the exception of communications related to Customers’ coordinated and
         Circuitronix-authorized site visits to Benlida’s factory.


         Answer: None that Benlida can recall.


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   14.   From the date of the earliest invoice identified in your Third Amended Complaint to July
         1, 2020, state how much money Benlida was paid by Circuitronix, LLC and the start date
         you use for calculating the figure in your answer.
         Answer: Earliest date of invoice is Dec 18, 2018. From December 18 to 23, no
         payment received from Circuitronix US or Circuitronix HKG, so the earliest date of
         payment is December 24, 2018.


                                                        SHIPMENT
                 ITEM         PAYMENT AMOUNT                                  NOTE
                                                         AMOUNT




            CTX-US paid to                                               Includes
                                US$12,240,285.87      US$10,058,195.91
              BLD+ROK                                                    US$100,000
                                                                         received on
                                                                         OSP chemical
                                                                         payment



           CTX-HKG paid to       US$2,756,127.94       US$6,372,566.07
             BLD+ROK

                TOTAL           US$14,996,413.81      US$16,430,761.98



         Through the end of December 2018, Circuitronix owed Benlida US$10,486,885.95 as
         receivables, with US$5,792,229.02 overdue as of the end of December 2018.




   15.   For the payments you considered in your answer to Interrogatory No. 16, above, identify
         any communications from you to Circuitronix, LLC that explain how that money was
         credited by Benlida.


         Answer: During the above period, monthly statements were sent, and since
         February 2020, the statements have included the payments received during that
         month and the total amount of the receivable.




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   16.   From January 1, 2016 to July 1, 2020, how much money was Benlida paid by
         Circuitronix, LLC?
         Answer:
                             PAYMENT AMOUNT                      SHIPMENT     AMOUNT

                           BLD                ROK                BLD                ROK

    CTX-US PAID
                    US$50,166,450.79    US$21,466,823.05   US$49,556,967.46   US$17,972,275.97

    CTX-HKG PAID                         US$1,360,000.00
                    US$17,039,336.45                       US$26,106,620.62    US$2,084,308.41

    TOTAL
                    US$67,205,787.24    US$22,826,823.05   US$75,663,588.08   US$20,056,584.38

    BLD+ROK
                                        US$90,032,610.29                      US$95,720,172.46
    TOTAL



         Through the end of December 2015, CTX owed BLD US$6,510,527.92 as
         receivables, with $282757.74 overdue as of the end of 2015


         Note:
         1) BLD payment amount includes OSP chemical payment US$235,000
         2) ROK payment amount includes OSP chemical payment US$377,000 + wire
         transfer by Tracy Huang account US$200,000.
   17.   For the payments you considered in your answer to Interrogatory No. 16, above, identify
         any communications from you to Circuitronix, LLC that explain how that money was
         credited by Benlida.


         Answer: During above period, monthly statements were sent. For the months of
         January 2016 to December 2017, emails show the payments received, each month
         and the total amount of receivables. For the months of February 2020 to July 2020,
         emails show the payments received that month and the total amount of receivable.
   18.   Who at Benlida has been responsible for credit insurance between January 1, 2016 and
         the present? Provide those individuals’ mailing addresses, email addresses, and
         telephone numbers.
         Answer: See answer to question 8 above.


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   19.    Identify all notices from the customs authority of China and tax department of China
          between January 1, 2016 and the present received by Benlida and/or ROK Printed Circuit
          Co. Ltd. stating that either company was in default.
          Answer: The tax refunds were withdrawn according to the regulations, but these
          actions were handled by the tax department, and there were no specific notifications
          or certifications for these actions.


   20.    For each claim Benlida made upon China Export & Credit Insurance Corporation (a/k/a
          Sinosure), between 2016 through 2021, for alleged losses arising from Benlida’s business
          with Circuitronix, LLC, identify the amount of money Benlida sought.

          Answer: US$7.144 million.



   I, Tracy Huang, state under penalty of perjury, pursuant to 28 U.S.C. 1746 this 24th day of
   May 2023, that the above responses to Circuitronix’s interrogatories are true and correct.




          ________________________________
                                                      Tracy Huang
   Dated: May 24, 2023
          New York, New York
                                                      MAZZOLA LINDSTROM LLP
                                                      Attorneys for Plaintiff Benlida

                                                      By: /s/ Jean-Claude Mazzola
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   Service via email upon counsel for defendant Circuitronix LLC

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